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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                   Case No. 8:21-mj-1025-CPT
                                            Charging District Case No. 1:21-mj-08
MATTHEW COUNCIL
______________________________/



                                   ORDER

        Defendant Matthew Council having been arrested in the Tampa Division of

the Middle District of Florida on a warrant issued in the District of Columbia and

having been released on bond, it is hereby ORDERED that, unless otherwise

directed by the United States District Court for the District of Columbia, the

Defendant shall appear via videoconference before United States Magistrate Judge

G. Michael Harvey on January 21, 2021, at 1:00 p.m.

        DONE and ORDERED in Tampa, Florida, this 15th day of January 2021.




Copies to:
Counsel of record
